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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


UNITED STATES OF AMERICA,

       Plaintiff,

vs.                                                                 Case No. 92-CR-81127

D-40, GREGORY BROWN,                                                  HON. AVERN COHN

     Defendant.
______________________________/

 ORDER CONSTRUING DEFENDANT’S MOTION TO RESCIND ORDER DENYING
 MOTION UNDER 18 U.S.C. § 3582(c)(2) AS A MOTION FOR RECONSIDERATION
                                   AND
  ALLOWING DEFENDANT TO FILE A SUPPLEMENTAL BRIEF WITHIN TEN (10)
                 DAYS FROM RECEIPT OF THIS ORDER


       This is a criminal case with a long procedural history. In 1997, defendant was

convicted by a jury of (1) conspiracy to posses with intent to distribute cocaine, in

violation of 21 U.S.C. § 846 and § 841(a)(1), (2) intentional killing, aiding and abetting,

in furtherance of a continuing criminal enterprise (CCE), in violation of 21 U.S.C. §

848(e)(1)(A), and 18 U.S.C. § 2, and (3) using or carrying a firearm in relation to a drug

offense, in violation of 18 U.S.C. § 924(c). Defendant was sentenced to life

imprisonment.

       On March 3, 2008, defendant filed a motion to reduce or modify sentence under

18 U.S.C. § 3582(c).1 Defendant argued that Amendment 706 of the Sentencing


       1
         This was defendant’s second motion under § 3582(c)(2). In his first motion, filed
October 27, 2007, defendant argued that he should be sentenced based on a 2006
amendment to the application notes of U.S.S.G. § 2A1.1 which calls for a sentence of
life imprisonment in a case of premeditated killing or where death results from the
commission of certain felonies. The Court denied the motion. See Order filed

                                              1
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Guidelines which lowered many of the offense levels applicable to possession or

distribution of crack cocaine, applied to him. The Court denied the motion on the

grounds that defendant was sentenced based on his involvement with a drug-related

murder, not because of his offense related to crack cocaine; therefore Amendment 706

does not affect the guidelines applicable to his sentence. See Order Denying Motion for

Reduction of Sentence under 18 U.S.C. § 3582(c)(2), filed June 11, 2008.

       Before the Court is defendant’s Motion to Rescind the Court’s Order Denying

Defendant’s Motion under 18 U.S.C. § 3582(c), which defendant signed and dated on

June 18, 2008. Defendant asserts that he never received a copy of the government’s

response and therefore did not have an opportunity to file a reply brief. Assuming

defendant is correct,2 the better course is to treat defendant’s motion as a motion for

reconsideration rather than rescind the Court’s order. Defendant can then file a

supplemental brief, replying to the government’s response. A copy of the government’s

response is attached to this order. Defendant shall file his supplemental brief within ten

(10) days of receipt of this order

       SO ORDERED.



Dated: July 9, 2008                        s/Avern Cohn
                                          AVERN COHN
                                          UNITED STATES DISTRICT JUDGE



November 29, 2007. The Court also denied defendant’s motion for reconsideration.
See Order filed January 9, 2008. Defendant has appealed this order.
       2
        The Court notes that the government’s response contains a certificate of service
which indicates a copy of the response was mailed to defendant at the same address (a
correctional facility in Memphis, Tennessee) which appears on the envelope from
defendant that contains the instant motion.

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                                               92-81127-40 USA v. Gregory Brown


                           CERTIFICATE OF SERVICE

I hereby certify that a copy of the foregoing document was mailed to Gregory Brown,
Reg No 07163-041, FCI Memphis, Box 34550, Memphis, TN 38184 and the attorneys of
record on this date, July 9, 2008, by electronic and/or ordinary mail.


                                       s/Julie Owens
                                      Case Manager, (313) 234-5160




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